It is not waste to clear tillable land for the necessary support of his family, though the timber be destroyed in clearing; nor is it waste to cut down timber for making or repairing fences, necessary buildings, or plantation utensils. But it is waste to cut down timber for sale; so it is waste to collect together the lightwood and extract tar from it, for that is a permanent injury, as it takes several years to produce as much lightwood. If the tenant is to have liberty of burning lightwood for tar, or felling the timber for sale, it should be conceded to him in the lease.
NOTE. — See Ballentine v. Payner, ante, 110, and the cases referred to in the note to that case.
Cited: King v. Miller, 99 N.C. 595; Thomas v. Thomas, 166 N.C. 631. *Page 293 